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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI

OXFORD DIVISION
MARILYN GRIFFIN PLAINTIFF
VS, CIVIL NO. 3:20-CV-152--GHD-DAS
COMMISSIONER OF SOCIAL SECURITY DEFENDANTS

ORDER ADOPTING REPORT AND RECOMMENDATION

On consideration of the file and records in this action, the court finds that the Report and
Recommendation of the United States Magistrate Judge dated April 19, 2021, was on that date
duly served upon the parties; that more than fourteen days have elapsed since service of said Report
and Recommendation; and that no objection thereto has been filed or served by either party. The
court is of the opinion that the Report and Recommendation should be approved and adopted as
the opinion of the court, It is, therefore,

ORDERED:

1. That the Report and Recommendation of the United States Magistrate Judge dated April
19 2021, be, and it is hereby, approved and adopted, and that the proposed findings of fact and
conclusions of law are hereby, adopted as the findings of fact and conclusions of law of the Court.

2. The decision of the Commissioner is affirmed and this matter is closed.

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SENIOR U.S. DISTRICT JUDGE

 
